Case 4:01-cr-00044-MAC-DDB             Document 882         Filed 02/16/12       Page 1 of 3 PageID #:
                                             1196



                             United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERM AN DIVISION


 UNITED STATES OF AMERICA                           §
                                                    §
  vs.                                               §            Case No. 4:01cr44
                                                    §            (Judge Schell)
 CHAD MITCHELL BRUTON (11)                          §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

         Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on January 19 , 2011, and February 14, 2012, to determine whether Defendant

 violated his supervised release. Defendant was represented by Robert Jarvis. The Government was

 represented by Maureen Smith.

         On February 14, 2002, Defendant was sentenced by the Honorable Richard A. Schell to

 seventy-two (72) months’ custody followed by five (5) years of supervised release for the offense of

 Conspiracy to Manufacture, Distribute or Possess with Intent to Manufacture, Distribute or Dispense

 Methamphetamine. On September 29, 2006, Defendant completed his period of imprisonment and

 began service of his supervised term.

         On June 20, 2011, the U.S. Pretrial Services Officer executed a Petition for Summons for

 Offender Under Supervision. The petition asserted that Defendant violated the following mandatory

 conditions: (1) the defendant shall not commit another federal, state, or local crime; (2) the defendant

 shall not illegally possess a controlled substance; (3) the defendant shall refrain from any unlawful

 use of a controlled substance; and (4) the defendant shall not possess a firearm, destructive device,

 or any other dangerous weapon as defined in 18 U.S.C. § 3563 § 3563(b)(8). The petition also

 alleged violations of the following standard condition: the defendant shall refrain from excessive use
Case 4:01-cr-00044-MAC-DDB             Document 882        Filed 02/16/12       Page 2 of 3 PageID #:
                                             1197


 of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance,

 or any paraphernalia related to any controlled substances, except as prescribed by a physician.

        The petition alleges that Defendant committed the following acts: (1) On April 18, 2011,

 Defendant was arrested by Grayson County, Texas Sheriff’s Department and charged with

 Possession of Methamphetamine, Tamper Fabricate Physical Evidence with Intent to Impair, and

 Resisting Arrest. It is alleged that Defendant attempted to flee the arresting officer when he was

 going to be placed under arrest. Defendant fought with officers and put a glassine bag with a white

 substance into his mouth. Sheriff Officers has to use a taser to gain Defendant’s compliance and

 place him in handcuffs. A glass bowl pipe with burnt residue and a clear glassine bag with a white

 substance were found inside Defendant’s waist band of his pants. Defendant admitted to possessing

 methamphetamine on this date. On May 23, 2011, Defendant was released on a $5,000 personal

 recognizance bond; and (2) On May 31, 2011, Defendant admitted to using methamphetamine on

 April 17 and 18, 2011.

        Prior to the Government putting on its case, Defendant entered a plea of true to all of the

 violations except for allegation five. Allegation five, addressing the firearm violation, was dismissed

 by the Government. The Court recommends that Defendant’s supervised release be revoked.

                                       RECOMMENDATION

        The Court recommends that the District Judge revoke Defendant’s supervised release.

 Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant be committed

 to the custody of the Bureau of Prisons to be imprisoned for a term of five (5) months with no

 supervised release to follow. It is also recommended that Defendant be housed in the Bureau of

 Prisons, Seagoville Unit. Defendant shall report to the U.S. Marshal’s Office in Sherman, Texas, on

 March 1, 2012, before 2:00 p.m., to begin his sentence.
    Case 4:01-cr-00044-MAC-DDB          Document 882        Filed 02/16/12      Page 3 of 3 PageID #:
                                              1198
.

            After the Court announced the recommended sentence, Defendant executed the consent to

     revocation of supervised release and waiver of right to be present and speak at sentencing.

     Defendant and the Government also waived their right to file objections.
            SIGNED this 15th day of February, 2012.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES MAGISTRATE JUDGE
